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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             ELECTRONICALLY FILED
 KENNETH FERENCE,

                Plaintiff,
                                             No. 2:22-cv-00797-NR-MPK
          vs.
                                             District Judge J. Nicholas Ranjan
                                             Magistrate Judge Maureen P. Kelly
 ROMAN CATHOLIC DIOCESE OF
 GREENSBURG and AQUINAS
 ACADEMY,
                                             JURY TRIAL DEMANDED
                Defendants.

     Reply Brief Further Supporting Defendants’ Rule 12(b)(6) Motion to
                      Dismiss First Amended Complaint

I.     Introduction

       Plaintiff Kenneth Ference (“Mr. Ference”), in opposing the Roman Catholic

Diocese of Greensburg’s (“Diocese”) and Aquinas Academy’s (“Aquinas”) motion to

dismiss, asserts broadly that First Amendment defenses do not apply in the employment

context by stitching together snippets of inapplicable dicta found in 303 Creative LLC v.

Elenis.    (ECF No. 48 pp. 2–3.)    Additionally, Mr. Ference hyperbolically equates

Defendants’ decision to terminate his employment for marrying a man in violation of their

organizations’ religious messages to the “separate but equal” regime established by the

former Jim Crow South. (Id.) Mr. Ference then concludes by misstating the breadth of

the Supreme Court’s holding in Hishon v. King & Spalding without explaining why that

case applies here.

       Congress passed Title VII many decades ago. Title VII, as a law made by Congress,

is indisputably subject to the First Amendment of the United States Constitution. That

Amendment’s plain language pertinently states that “Congress shall make no law

respecting an establishment of religion, or prohibiting the free exercise thereof; or
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abridging the freedom of speech . . . .” U.S. CONST. amend. I. Mr. Ference, in bringing a

Title VII claim against Defendants, must do so on grounds that comport with the

First Amendment.       Enforcing Title VII’s prohibition of unlawful sex discrimination

against Defendants violates Defendants’ First Amendment right of expressive association.

       The Court, therefore, must dismiss this action with prejudice.

II.    Reply Argument

       The Supreme Court’s recent decision in 303 Creative LLC v. Elenis does not

support Mr. Ference’s contention that “First Amendment defenses” do not “apply in the

employment context.” 143 S. Ct. 2298 (2023); (ECF No. 48 p. 3.) Mr. Ference reaches

this conclusion by quoting the following portion of Justice Gorsuch’s majority opinion in

303 Creative:

                [t]he dissent even suggests that our decision today is akin to
                endorsing a ‘separate but equal’ regime that would allow law
                firms to refuse women admission into partnership,
                restaurants to deny service to Black Americans, or businesses
                seeking employees to post something like a ‘White Applicants
                Only’ sign . . . [p]ure fiction all.

143 S. Ct. at 2319. This statement merely rebuts Justice Sotomayor’s dissenting opinion.

Id. at 2319, 2322–2343. Nowhere in 303 Creative does the Supreme Court reject, without

exception, the application of “First Amendment defenses . . . in the employment context.”

(ECF No. 48 p. 3.) 303 Creative instead acknowledges that “determining what qualifies

as expressive activity protected by the First Amendment can sometimes raise difficult

questions.” 143 S. Ct. at 2319.

       303 Creative reiterates a longstanding principle: “the First Amendment protects

acts of expressive association.” 143 S. Ct. at 2312. That includes the Boy Scouts’ decision

to exclude an assistant scoutmaster after learning he was gay.          Id. at 2311 (citing


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Boy Scouts of America v. Dale, 530 U.S. 640, 644–45, 656 (2000)).               Forcing the

Boy Scouts to include this gay assistant scoutmaster would have “interfere[d] with [its]

choice not to propound a point of view contrary to its beliefs.” Dale, 530 U.S. at 654.

       Mr. Ference’s position, if adopted by this Court, would force “a male website

designer married to another man to design websites for an organization that advocates

against same-sex marriage.” 303 Creative, 143 S. Ct. at 2314 (internal citation omitted).

It would also require an anti-Ten Commandments-monument advocacy organization to

hire an Evangelical Christian applicant for an open litigation support position or be sued

for Title VII religious discrimination. This is despite that Christian applicant’s open and

public disagreement with the organization’s message that Ten Commandments

monuments must be purged from all government property. “[T]he First Amendment

tolerates none of that.” 303 Creative, 143 S. Ct. at 2314. Title VII is not “immune from

the demands of the Constitution.” Id. at 2315.

       The Supreme Court’s First Amendment precedent allows a private business to

reject making websites conveying a message regarding gay marriage that the business

opposes. 303 Creative, 143 S. Ct. at 2313–14. This is because “the First Amendment’s

protections belong” to “all persons engaged in expressive conduct . . . .” Id. at 2317, 2320.

That same binding precedent allows the Diocese and Aquinas to refuse to employ

Mr. Ference as a teacher because his decision to marry a man contravenes the Diocese’s

and Aquinas’s First Amendment-protected religious message on marriage being only a

union between man and woman. (ECF Nos. 46-1, 46-2, 46-3, 46-4.) That is “nothing like

. . . an incidental burden on speech” because the message at issue touches on questions

“of political and religious significance.” Id. at 2318.



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       The bulk of Mr. Ference’s argument is a false equivalency.          He equates the

Diocese’s and Aquinas’s decision to terminate him for marrying a man and contravening

the religious message those organizations communicate (ECF Nos. 46-1, 46-2, 46-3, 46-

4) with a commercial, for-profit law firm excluding women from partnership and non-

religious businesses refusing to serve or hire nonwhite individuals. (ECF No. 48 pp. 3, 4.)

The specific circumstance of Mr. Ference’s marriage to a man openly contradicting the

Diocese’s and Aquinas’s message on a core doctrinal matter differs greatly from the

general proposition of a law firm unequivocally rejecting women for partnership or

mercantile businesses blanketly refusing to serve or hire nonwhite people.

       Mr. Ference also misrepresents the breadth of the Supreme Court’s holding in

Hishon v. King & Spalding. 467 U.S. 69, 78 (1984); (ECF No. 48 p. 3.) The Hishon court

did not categorically pronounce that “the application of Title VII’s protections to the

employer-employee relationship is not an unconstitutional regulation of expressive

association.” (ECF No. 48 p. 3.) Instead, the Hishon court looked to King & Spalding’s

interest in distinctly contributing to society’s ideas and beliefs and concluded that King &

Spalding “has not shown how its ability to fulfill such a function would be inhibited by”

considering a woman for partnership. 467 U.S. at 78. Hishon shows that courts tailor the

free “expression or association” analysis to what the employer does and whether applying

Title VII would interfere with that function. Id.

III.   Conclusion

       There is no dispute that Mr. Ference’s open and public same-sex marriage does not

comport with the Diocese’s and Aquinas’s doctrinal views on marriage. (ECF Nos. 46-1,

46-2, 46-3, 46-4.) Continuing to employ Mr. Ference after learning he married a man

would distort the Diocese’s and Aquinas’s message, communicated to their students

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through Aquinas, that marriage is only between a man and a woman. Mr. Ference

nevertheless seeks to use Title VII and the Pennsylvania Human Relations Act (“PHRA”)

to obtain—by means of the coercive force of government—money damages. But the

First Amendment prevails when it collides with the application of Title VII and the PHRA,

just as it does when it collides with a state’s public accommodations law. 303 Creative,

143 S. Ct. at 2315.

       The Court should grant with prejudice the Diocese’s and Aquinas’s motion to

dismiss.

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